Case 2:24-cv-00800-JRG-RSP          Document 54-1       Filed 02/05/25     Page 1 of 3 PageID #:
                                            408



                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


    BROWSERKEY, LLC,

         Plaintiff,                                        Case No. 2:24-CV-00800-JRG-RSP
                                                                (Lead Case)
         v.
                                                           JURY TRIAL DEMANDED
    WELLS FARGO BANK, N.A.,

         Defendant.


    BROWSERKEY, LLC,

         Plaintiff,                                        Case No. 2:24-CV-00798-JRG-RSP
                                                                (Member Case)
         v.

    BANK OF AMERICA CORPORATION,                           JURY TRIAL DEMANDED
    BANK OF AMERICA, NATIONAL
    ASSOCIATION, and MERRILL LYNCH,
    PIERCE, FENNER & SMITH
    INCORPORATED

         Defendants.

                DECLARATION OF DUSTIN J. EDWARDS IN SUPPORT OF
                BANK OF AMERICA DEFENDANTS’ MOTION TO DISMISS
                        PLAINTIFF’S AMENDED COMPLAINT

 I, Dustin J. Edwards, declare as follows:

        1.      I am a partner at the law firm of Winston & Strawn LLP and lead counsel of record

 for Defendants Bank of America Corporation (“BAC”), Bank of America, National Association

 (“BANA”), and Merrill Lynch, Pierce, Fenner & Smith Incorporated (“Merrill”) (collectively,

 “Bank of America Defendants”) in the above-captioned action. I am over the age of eighteen years
Case 2:24-cv-00800-JRG-RSP           Document 54-1        Filed 02/05/25      Page 2 of 3 PageID #:
                                             409



 old, and I have personal knowledge of each fact stated in this declaration. I submit this declaration

 in support of Bank of America Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint.

        2.      Exhibit A is a true and correct copy of a comparison between Plaintiff’s original

 Complaint (Dkt. 1) and Plaintiff’s Amended Complaint (Dkt. 34).

        3.      Exhibit B is a true and correct copy of the Applicant Arguments/Remarks Made in

 an Amendment, dated February 6, 2006, from the prosecution history of the asserted patent in the

 above-captioned action—U.S. Pat. No. 7,249,262 (the “’262 Patent”)—with added highlights.

        4.      Exhibit C is a true and correct copy of the Originally Filed Application for the ’262

 Patent, dated May 6, 2002, with added highlights.

        5.      Exhibit D is a true and correct copy of a Notice of References Cited, dated October

 19, 2012, from the prosecution history of U.S. Pat. App. No. 12/845,881 (the “’881 App.”), with

 added highlights.

        6.      Exhibit E is a true and correct copy of a Notice of References Cited, dated October

 5, 2012, from the prosecution history of U.S. Pat. App. No. 13/097,828 (the “’828 App.”), with

 added highlights.

        7.      Exhibit F is a true and correct copy of a Non-Final Rejection, dated October 5,

 2012, from the prosecution history of the ’828 App.

        8.      Exhibit G is a true and correct copy of the Applicant Arguments/Remarks Made in

 an Amendment, dated November 27, 2012, from the prosecution history of the ’828 App.

        9.      Exhibit H is a true and correct copy of an Information Disclosure Statement, dated

 November 21, 2013, from the prosecution history of U.S. Pat. No. 9,026,991 (the “’991 Patent”),

 with added highlights.
Case 2:24-cv-00800-JRG-RSP          Document 54-1      Filed 02/05/25     Page 3 of 3 PageID #:
                                            410



 I declare under the penalty of perjury that the foregoing is true and correct to the best of my

 knowledge, information, and belief.


 Executed this 5th day of February, 2025.


                                                                  /s/ Dustin J. Edwards
                                                                  Dustin J. Edwards
